                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

 ___________________________________
 BIANCA JOHNSON, et al.,                          :
                                                  :
                    Plaintiffs,                   :
                                                  :                Case No. 3:16-cv-00016
 v.                                               :
                                                  :
                                                  :
 ANDREW HOLMES, et al.                            :
                                                  :
                    Defendants.                   :
                                                  :
 ___________________________________              :

       Plaintiff concedes that, at the time of the search of plaintiff Sergio Harris’ vehicle, the

officers had probable cause to conduct that search.



                                                              Respectfully submitted,
                                                              Sergio Harris
                                                              By counsel
s/
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                                  CERTIFICATION OF SERVICE

         I certify that the within document has been served on defendant on July 15, 2022, by
filing the same with the court’s ECF system which will give notice to all attorneys of record.

                                                        s/
                                                        Jeffrey E. Fogel
